Case 3:08-cv-00441-TLM Document 177-9 Filed 07/22/10 Page 1of5

EXHIBIT 9
Case 3:08-cv-00441-TLM Document 177-9 Filed 07/22/10 Page 2 of 5

UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

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DONGGUK UNIVERSITY, : No, 3:08-CV-00441 (RNC)
Plaintiff :

Vv. ‘

YALE UNIVERSITY,
Defendant. : JUNE 12, 2009

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DEFENDANT YALE UNIVERSITY’S OBJECTIONS AND RESPONSES TO
PLAINTIFF DONGGUK UNIVERSITY'S FIRST SET OF REQUESTS FOR
ADMISSION
Defendant Yale University (“Yale”) hereby responds to Plaintiff Dongguk University’s

(“Dongguk”) First Set of Requests for Admission as follows:
REQUESTS FOR ADMUSSION
Case 3:08-cv-00441-TLM Document 177-9 Filed 07/22/10 Page 3 of 5

15. OnJuly 6, 2007 at 3:44 AM (EST), Cho sent an email to Schirmeister (the “July 6
Email”).

RESPONSE: Yale Jacks knowledge or information sufficient to enable it to admit or
deny. After making reasonable inquiry, the information that Yale knows or ean readily obiain is

insufficient to enable it to admit or deny.

16. | The contents of the July 6 Email are as follows:

Dear Pamela Schirmeister,

[ am writing this letter in need of verification on your records about Ms. Jeong Ah Shin
for whom, according to the documents we have, in 2005, you issued a Ph.D. certification
letter to our school, Dongguk University, in Seoul, Korea.

According to one of the documents, in May 27, 2005, you issued a certification letter
saying that Jeong Ah Shin (dob: April 28, 1972) got a Ph.D. in the major of History of
Axt and graduated in May 2005. The letter was carbon copied to Professor Christine
Mebring and the Department of the History of Art. Moreover, in response to our letter of
asking your verification of the May letter, in September 22, 2005, you faxed us, saying

-1-
Case 3:08-cv-00441-TLM Document 177-9 Filed 07/22/10 Page 4of5

that you confirmed that the May letter was issued by the Yale Graduate School and
signed by you.

On the contrary to your statements, however, upon our request for the verification of Ms.
Shin’s status on whether she got a Ph.D. in the Department of the History of Art, Susan
Emerson, the registrar of the Department of the History of Art informed us that Jeong Ah
. . Shin did not receive Ph.D. in the History of Art Department. Also, Professor Mehring
emailed saying that she did not advise Jeong Ah Shin and does not know her,

Faced with these two contradictory statements from Yale University about Ms. Jeong Ah
Shin, we are oblidged to ask you again whether you really issued the May and September
Certification letter on behalf of the Yale Graduate School. If Jeong Ah Shin received a
Ph.D. in the major of the History of Art under Professor Mehring, as you confirmed, why
do you think Susan Emerson and Dr. Christine Mehring have denied what you wrote
about Ms. Shin?

It will be very kind of you if you double check both the registrar of the Yale Graduate
School and the History of Art Department with regard to our inquiry about Ms. Shin’s
status on whether she really got a Ph.D. in the History of Art Department under the
supervision of Dr. Mehring. Your quick reply to this will be greatly appreciated.

Sincerely,
Euiyon Cho, Ph.D.
RESPONSE: Yale lacks knowledge or information sufficient to enable it to admit or

deny. After making reasonable inquiry, the information that Yale knows or can readily obtain is

insufficient to enable it to admit or deny.

17. On July 6, 2007 at 3:44 AM (EST), Cho received an away message from

Schirmeister (the “July 6 Away Message”) in response to his July 6, 2007 email.

RESPONSE: Yale lacks knowledge or information sufficient to enable it to admit or

deny. After making reasonable inquiry, the information that Yale knows or can readily obtain is

insufficient to enable it to admit or deny.

18. The contents of the July 6 Away Message are as follows:

-8-
Case 3:08-cv-00441-TLM Document 177-9 Filed 07/22/10 Page 5of5

I will be away from the office until Monday, July 16, with only sporadic e-mail contact.
If you need immediate assistance, please contact my assistant at
alicia.grendziszewski@yale.cdu. Otherwise, I'll respond to your message when I return.
Thanks for your patience.

deny. After making reasonable inquiry, the information that Yale knows or can readily obtain is

insufficient to enable it to admit or deny.

19,  Schirmeister never sent an email or other communication to Cho in response to
the July 6 Email.

RESPONSE: Yale lacks knowledge or information sufficient to enable it to admit or
deny. After making reasonable inquiry, the information that Yale knows or can readily obtain is

insufficient to enable it to admit or deny.
